                                      United States Bankruptcy Court
                                      Northern District of Alabama
In re:                                                                                  Case No. 16-81412-CRJ
Michael G. Dombrowski                                                                   Chapter 11
         Debtor
                                        CERTIFICATE OF NOTICE
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                               Form ID: pdf000              Total Noticed: 86


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 10, 2017.
db             +Michael G. Dombrowski,    200 Walker Avenue,     Huntsville, AL 35801-4156
aty            +Robert C Goodrich,    Burr& Forman, LLP Nashville City Center,      511 Union Street Suite 2300,
                 Nashville, TN 37219-1756
aty            +Tazewell T. Shepard,    Sparkman, Shepard & Morris, P.C.,      P. O. Box 19045,
                 Huntsville, AL 35804-9045
cr             +BANK OF AMERICA, N.A.,    c/o Pierce Ledyard, PC,     P.O. Box 161389,    Mobile, AL 36616-2389
intp           +BSI Financial Services,    1425 Greenway Drive, Ste 400,     Irving, TX 75038-2480
op              Benjamin P Wilson,    104 Jefferson Street,     STE 100,   Huntsville, AL 35801
cr             +Breckenridge Association, Inc.,     100 Brownsridge Lane,    Madison, Al 35758-2406
cr             +Cobblestone Condominium Assoc.,     c/o Ray Uhrig,    2611 Artie St SW Suite 1,
                 Huntsville, AL 35805-4750
cr             +First Commercial Bank, Division of Synovus Bank,      % B. Hightower, D. Sparks,
                 Christian & Small LLP,    1800 Financial Center,     505 North 20th Street,
                 Birmingham, AL 35203-4633
cr             +First Tennessee Bank National Association,      Special Assets Group,    P.O. Box 28100,
                 Nashville, TN 37202-8100
r               Kris Powell,    Century 21 Meyer Real Estate,     1585 C Gulf Shores Parkway,
                 Gulf Shores, Al 36542
cr             +PNL SV, LLC,    % D. Sparks, B. Hightower,     1800 Financial Center,    505 N. 20th Street,
                 Birmingham, AL 35203-2605
cr             +Progress Bank,    c/o Chad W. Ayres,    P. O. Box 2168,    Huntsville, AL 35804-2168
cr             +SPECIALIZED LOAN SERVICING LLC,     8742 Lucent Blvd, Suite 300,     Highlands Ranch, CO 80129-2386
cr             +Synovus Bank,    c/o Christian & Small LLP,     1800 Financial Center,    505 N. 20th Street,
                 Birmingham, AL 35203-4633
cr             +Tennessee Bank National Association,     c/o Thomas W. Lawless,     701 Broadway,
                 Nashville, TN 37203-3944
9173691        +A-1 Surfside Storage,    280 S Surfside Drive,     Port Hueneme, CA 93041-3524
9032035         AMERICAN EXPRESS BANK FSB,     C/O BECKET AND LEE LLP,    PO BOX 3001,    MALVERN PA 19355-0701
9416202        +AccuPlan,    Attn: Ben Barker,    406 W.S. Jordan Parkway Ste 640,     South Jordan, UT 84095-3943
9416203        +American Estate & Truste, LC,     6900 Westcliff Drive, Ste 603,     Las Vegas, NV 89145-0199
9005346        +American Express,    Customer Service,    P O Box 981535,    El Paso, TX 79998-1535
9005333         Bank of America,    P O Box 650070,    Dallas, TX 75265-0070
9503594         Benjamin P. Wilson,    PrimeLending,    104 Jefferson Street, Ste. 100,     Huntsville, AL 35801
9005347        +Breckenridge Assn., Inc.,    100 Brownsridge Lane,     Madison, AL 35758-2406
9005348        +Charlotte A. Dombrowski,    200 Walker Ave,     Huntsville, AL 35801-4156
9005337        +City Hall Bremen GA,    232 Tallapoosa St,     Bremen, GA 30110-2045
9005349        +Cobblestone Condo Assn,    P O Box 22116,    Huntsville, AL 35814-2116
9059706        +Cobblestone Condominium Association, Inc.,      C/O Ray Uhrig,    Uhrig Law Firm,
                 2611 Artie St. SW, Ste. 1,     Huntsville, AL 35805-4750
9005350        +Cornerstone,    2060 Mt Paran Rd Ste 100,    Atlanta, GA 30327-2935
9104783        +Cornerstone Bank,    c/o C.Paul Davis,    Davis Law Firm, P.C.,     2313 Market Place, Suite D,
                 Huntsville, AL 35801-5274
9114147        +Federal National Mortgage Association (Fannie Mae),      Seterus, Inc. as Servicer for,
                 Federal National Mortgage Association,     P.O. Box 1047,     Hartford, CT 06143-1047
9005351        +First Tennessee,    511 Union St 5th Fl,    Nashville, TN 37219-1736
9005366        +First Tennessee,    c/o Jeanna McWilliams,     511 Union St 5th Fl,    Nashville, TN 37219-1736
9111945        +First Tennessee Bank National Association,      P.O. Box 28100,    Nashville, TN 37202-8100
9005339        +Fulton County Tax Commissioner,     141 Pryor St,    Atlanta, GA 30303-3446
9173690         GSRAN-Z Servicing Account,     P. O. Box 71275,    Philadelphia, PA 19176-6275
9005341        +Haralson County Tax Commissioner,     P O Box 330,    Buchanan, GA 30113-0330
9405772        +INVESTA SERVICES FOR GSRAN-Z, LLC,     1266 WEST PACES FERRY RD, BOX 517,
                 ATLANTA, GA 30327-2306
9267570         Kim Hastie, Revenue Commissioner,     P. O. Drawer 1169,    Mobile, Al 36633-1169,
                 Mobile, AL 36633-1169
9005352        +Legacy Mountain HOA,    P O Box 10686,    Knoxville, TN 37939-0686
9005342        +Lynda Hall Tax Collector,    Madison County Courthouse,     100 Northside Sq,
                 Huntsville, AL 35801-4876
9153985        +MCA Properties, East Coast Properties,     240 Constitution BLVD.,     Dallas, Georgia 30132-4614
9005343        +Mobile County,    Revenue Commissioner’s Office,     P O Drawer 1169,    Mobile, AL 36633-1169
9005354        +Morgantown POA,    P O Box 1626,    Gulf Shores, AL 36547-1626
9352616        +PNL SV, LLC,    2100 Ross Ave.,    Suite 2900,    Dallas, TX 75201-6774
9005344        +Paulding County Tax Commissioner,     240 Constitution Blvd Rm 305,     Dallas, GA 30132-4614
9005356        +Philip G. Dombrowski,    14007 Astalot Dr,     Huntsville, AL 35803-2465
9047240        +Piedmont Capital Lending, L.L.C.,     c/o Morris Manning & Martin, LLP, Lynn W,
                 990 Hammond Drive, #300,    Atlanta, GA 30328-5519
9005334        +Progress Bank and Trust,    201 Williams Ave,     Huntsville, AL 35801-4308
9005368        +Progress Bank and Trust,    c/o Clint Kirkland,     201 Williams Ave,    Huntsville, AL 35801-4308
9005359        +Seabreeze Condo Owners,    27051 Towne Centre Dr Ste 200,      Foothill Ranch, CA 92610-2819
9005716        +Secretary of the Treasury,     1500 Pennsylvania Ave., NW,     Washington, DC 20220-0001
9005335         Seterus,   P O Box 1077,    Hartford, CT 06143-1077
9005360         Sevier County Bank,    P O Box 5288,    Sevierville, TN 37864-5288
9005369         Sevier County Bank,    c/o Jack Williams,    P O Box 5288,     Sevierville, TN 37864-5288
9116618        +Sevier County Bank,    c/o Stuart M. Maples,     200 Clinton Ave. West,    Suite 1000,
                 Huntsville, AL 35801-4919

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9005345         +Sevier County Trustee,    125 Court Ave Rm 212W,    Sevierville, TN 37862-3596
9005361         +Somar Lofts COA,   95 Forsyth St #6A,    Atlanta, GA 30303-3478
9330514         +Specialized Loan Servicing LLC,    8742 Lucent Blvd, Suite 300,
                  Highlands Ranch, Colorado 80129-2386
9005362         +Synovus,   Managed Assets,    P O Box 105233,    Atlanta, GA 30348-5233
9005371         +Synovus,   Jeff Spielberger,    P O Box 105233,    Atlanta, GA 30348-5233
9005370         +Synovus,   c/o Jeff Spielberger,    P O Box 105233,    Atlanta, GA 30348-5233
9111944         +Thomas W Lawless,   Suite 403 The Customs House,     701 Broadway,    Nashville, TN 37203-3944
9406965         +US Bank Trust N.A., as trustee,    C/O BSI Financial Services,     1425 Greenway Drive, Ste 400,
                  Irving, TX 75038-2480
9005364          USAA Federal Savings Bank,    10750 McDermott Freeway,    San Antonio, TX 78288-9876
9173692         +Uncle Bob’s Self Storage,    7015 Hwy 72 W,    Huntsville, AL 35806-1727
9005363         +United Community Bank,    558 Industrial Blvd,    Ellijay, GA 30540-3786
9005718         +United States Attorney,    Northern District of Alabama,    1801 Fourth Avenue North,
                  Birmingham, AL 35203-2101

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: bnc_notices_northern@alnba.uscourts.gov Dec 09 2017 00:54:45         Richard Blythe,
                 BA Decatur,   P O Box 3045,    Decatur, AL 35602-3045
cr             +E-mail/Text: cio.bncmail@irs.gov Dec 09 2017 00:53:46
                 Insolvency Section Internal Revenue Service,     801 Broadway,    MDP 146, Room 285,
                 Nashville, TN 37203-3816
9005340        +E-mail/Text: wfoster@gilmercounty-ga.gov Dec 09 2017 00:54:01
                 *Gilmer County Tax Commissioner,     1 Broad St Ste 105,    Ellijay, GA 30540-9045
9005367        +E-mail/Text: cdoughty@piedmontcapitallending.com Dec 09 2017 00:56:01         *Piedmont Lending,
                 c/o Chandler Doughty,    P O Box 1578,    Roswell, GA 30077-1578
9183454         E-mail/Text: bankruptcy@revenue.alabama.gov Dec 09 2017 00:55:48
                 ALA DEPT OF REVENUE LEGAL DIV,    P.O. BOX 320001,    MONTGOMERY, AL 36132-0001
9005336        +E-mail/Text: bankruptcydocs@baldwincountyal.gov Dec 09 2017 00:54:51
                 Baldwin County Revenue Commission,     Teddy J Faust, Jr.,    P O Box 1549,
                 Bay Minette, AL 36507-1549
9005365        +E-mail/Text: bankruptcydocs@baldwincountyal.gov Dec 09 2017 00:54:51
                 Baldwin County Revenue Commission,     1705 U S Hwy 31 S,    Bay Minette, AL 36507-2614
9005338        +E-mail/Text: dcbankruptcy@co.douglas.ga.us Dec 09 2017 00:56:01
                 Douglas County Tax Commissioner,     P O Box 1177,   Douglasville, GA 30133-1177
9077252        +E-mail/Text: synovusbankruptcy@synovus.com Dec 09 2017 00:55:37        First Commercial Bank,
                 a Division of Synovus Bank,    800 Shades Creek Parkway,     Birmingham, AL 35209-4532
9005353        +E-mail/Text: bankruptcy@luederlaw.com Dec 09 2017 00:56:08        Liberty Community Assn,
                 c/o Lueder, Larkin & Hunter, LLC,     5900 Winward Pkwy Ste 390,    Alpharetta, GA 30005-5479
9016779        +E-mail/Text: bankruptcy@luederlaw.com Dec 09 2017 00:56:08
                 Liberty Community Association, Inc.,     c/o Lueder, Larkin & Hunter, LLC,
                 5900 Windward Parkway, Suite 390,     Alpharetta, GA 30005-5479
9005357        +E-mail/Text: cdoughty@piedmontcapitallending.com Dec 09 2017 00:56:01         Piedmont Lending,
                 P O Box 1578,   Roswell, GA 30077-1578
9005358        +E-mail/Text: newbk@Regions.com Dec 09 2017 00:55:00        Regions Bank,    P O Box 11407,
                 Birmingham, AL 35246-0100
9032142         E-mail/Text: newbk@Regions.com Dec 09 2017 00:55:00        Regions Bank,
                 Consumer Collections       BH40402B,    P. O. Box 10063,    Birmingham, AL 35202-0063
9173693        +E-mail/Text: bankruptcy@revenue.alabama.gov Dec 09 2017 00:55:48         State of Alabama,
                 Department of Revenue,    50 North Ripley Street,    Montgomery, AL 36132-0001
9005715        +E-mail/Text: atlreorg@sec.gov Dec 09 2017 00:54:25        U.S. Securities and Exchange Commission,
                 Regional Director, Branch of Reorganizat,     Atlanta Regional Office, Suite 900,
                 950 East Paces Ferry Road,    Atlanta, GA 30326-1180
9113489        +E-mail/Text: bncmail@w-legal.com Dec 09 2017 00:54:58        USAA SAVINGS BANK,
                 C O WEINSTEIN & RILEY, PS,    2001 WESTERN AVENUE, STE 400,     SEATTLE, WA 98121-3132
9005719        +E-mail/Text: bnc_notices_southern@alnba.uscourts.gov Dec 09 2017 00:54:40
                 United States Bankruptcy Administrator,     Northern District of Alabama,
                 1800 Fifth Avenue North,    Birmingham, AL 35203-2111
                                                                                                TOTAL: 18

            ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr               US Bank Trust N.A., as trustee of Bungalow Series
9174468          State of Alabama,   Department of Revenue 50 North Ripley St
cr*             +Cornerstone Bank,   c/o C. Paul Davis,    Davis Law Firm, P.C.,    2313 Market Place,     Suite D,
                  Huntsville, AL 35801-5274
cr*             +Liberty Community Association, Inc.,    c/o Lueder, Larkin & Hunter, LLC,
                  5900 Windward Parkway, Suite 390,    Alpharetta, GA 30005-5479
cr*             +Sevier County Bank,    c/o Stuart M Maples,    200 Clinton Ave West Ste 1000,
                  Huntsville, AL 35801-4919
9174469*        +A-1 Surfside Storage,    280 S Surfside Drive,    Port Hueneme, CA 93041-3524
9174471*         GSRAN-Z Servicing Account,    P 0 Box 71275,    Philadelphia, PA 19176-6275
9005717*         Internal Revenue Service,    P.O. Box 7346,    Philadelphia, PA 19101-7346
9115746*        +Progress Bank & Trust,    201 Williams Avenue,    Huntsville, AL 35801-4308
9174470*        +Uncle Bob’s Self Storage,    7015 Hwy 72 W,    Huntsville, AL 35806-1727




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9005355         ##+Northshore GA POA,         P O Box 5237,        Saint Marys, GA 31558-5237
                                                                                                                    TOTALS: 2, * 8, ## 1

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 10, 2017                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 8, 2017 at the address(es) listed below:
              Adam C. Dauro    on behalf of Creditor    Breckenridge Association, Inc. adauro@heardlaw.com,
               kheard@heardlaw.com;aary@heardlaw.com;bstonemetz@heardlaw.com;robbie@heardlaw.com;bupton@heardlaw
               .com
              Angela Stewart Ary    on behalf of Defendant    American Estate & Trust, LC aary@heardlaw.com,
               kheard@heardlaw.com;adauro@heardlaw.com;bstonemetz@heardlaw.com;robbie@heardlaw.com;bupton@heardl
               aw.com
              Bradley Richard Hightower    on behalf of Creditor    First Commercial Bank, Division of Synovus
               Bank brhightower@csattorneys.com, brad--hightower-1605@ecf.pacerpro.com
              Bradley Richard Hightower    on behalf of Creditor    PNL SV, LLC brhightower@csattorneys.com,
               brad--hightower-1605@ecf.pacerpro.com
              Chad Wayne Ayres    on behalf of Creditor    Progress Bank cayres@wilmerlee.com
              Charles Paul Davis    on behalf of Creditor    Cornerstone Bank pdavis@cpdlaw.com,
               lyoung@cpdlaw.com;jgrayson@cpdlaw.com;mbeach@cpdlaw.com
              Daniel D Sparks    on behalf of Creditor    PNL SV, LLC ddsparks@csattorneys.com,
               dan-sparks-9722@ecf.pacerpro.com
              Daniel D Sparks    on behalf of Creditor    First Commercial Bank, Division of Synovus Bank
               ddsparks@csattorneys.com, dan-sparks-9722@ecf.pacerpro.com
              Daniel D Sparks    on behalf of Creditor    Synovus Bank ddsparks@csattorneys.com,
               dan-sparks-9722@ecf.pacerpro.com
              Diane C Murray    on behalf of Creditor    Seterus, Inc. ndbankruptcy@sirote.com
              Diane C Murray    on behalf of Creditor    SETERUS, INC. ndbankruptcy@sirote.com
              Donald M Wright    on behalf of Creditor    SETERUS, INC. dwright@sirote.com
              Eric J. Breithaupt    on behalf of Creditor    United Community Bank ebreithaupt@stites.com,
               ayarborough@stites.com
              G. John Dezenberg, Jr.    on behalf of Plaintiff Michael G. Dombrowski dezlaw@bellsouth.net,
               smedders@bellsouth.net;dezlawecf@gmail.com;dezenberggr49395@notify.bestcase.com
              Goodman G. Ledyard    on behalf of Creditor    BANK OF AMERICA, N.A. gledyard@pierceledyard.com,
               sweiss@pierceledyard.com
              J Thomas Corbett    jtom_corbett@alnba.uscourts.gov, courtmailbir11@alnba.uscourts.gov
              Joe A. Joseph    on behalf of Creditor    First Tennessee Bank National Association
               jjoseph@burr.com, mivey@burr.com;dbutts@burr.com
              Kelley Askew Gillikin    on behalf of Creditor    ALA DEPT OF REVENUE LEGAL DIVISION P O BOX 320001
               MONTGOMERY, AL 36132-0001 kelley.gillikin@revenue.alabama.gov
              Ray Uhrig     on behalf of Creditor    Cobblestone Condominium Assoc. ray@uhriglaw.com,
               paralegal@uhriglaw.com
              Richard E. O’Neal    on behalf of Creditor Insolvency Section Internal Revenue Service
               USAALN.BANKRUPTCY@usdoj.gov
              Richard M Blythe    Richard_Blythe@alnba.uscourts.gov, courtmaildec@alnba.uscourts.gov
              S. Keith Eady    on behalf of Creditor     Federal National Mortgage Association (Fannie Mae)
               ECFBKAL@rcolegal.com, rcofilings@ecf.courtdrive.com;keady@ecf.courtdrive.com
              S. Keith Eady    on behalf of Interested Party    BSI Financial Services ECFBKAL@rcolegal.com,
               rcofilings@ecf.courtdrive.com;keady@ecf.courtdrive.com
              Stuart M Maples    on behalf of Creditor    Sevier County Bank smaples@mapleslawfirmpc.com,
               kwalker@mapleslawfirmpc.com;kpickett@mapleslawfirmpc.com;dmaples@mapleslawfirmpc.com
              Tazewell Shepard     on behalf of Debtor Michael G. Dombrowski taze@ssmattorneys.com,
               cheryl@ssmattorneys.com;janelle@ssmattorneys.com
              Tazewell Shepard     on behalf of Plaintiff Michael G. Dombrowski taze@ssmattorneys.com,
               cheryl@ssmattorneys.com;janelle@ssmattorneys.com
              Tazewell T Shepard    on behalf of Debtor Michael G. Dombrowski tshepard@ecf.epiqsystems.com,
               trustee@ssmattorneys.com;janelle@ssmattorneys.com

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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Tazewell Taylor Shepard, IV   on behalf of Plaintiff Michael G. Dombrowski ty@ssmattorneys.com,
               janelle@ssmattorneys.com
              Tazewell Taylor Shepard, IV   on behalf of Debtor Michael G. Dombrowski ty@ssmattorneys.com,
               janelle@ssmattorneys.com
                                                                                            TOTAL: 29




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  2UGHU'UDIWHGE\     7D]HZHOO76KHSDUG,9Attorney for the Debtor
  
  2UGHU$SSURYHGE\ 6.HLWK(DG\Attorney for Creditor




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